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                                                                         Anya Fuchs
                                                                Pearce Lewis LLP
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                                                            LEGAL EXPERIENCE (23 Years)

                                   Pearce Lewis LLP, Attorney, Of Counsel, San Francisco, CA (June 2021 – Ongoing)
                                    Principal legal research and writer, and case management attorney, for personal injury
                                   and product liability actions, including complex tort and mass tort litigations. Currently in
                                   service as co-liaison of JCCP 5305 (Future Motion CA coordinated litigation).

                                      Gold Law Firm, Attorney, San Francisco, CA (August 2015 – August 2018)
        Principal pre-trial, trial, and post-trial legal research and writer for boutique plaintiffs’ complex tort litigation;
         dispositive motion and in limine practice, trial briefs, jury instructions, verdict forms, post-trial briefs, writs.

Maune Raichle Hartley French & Mudd LLC, Attorney, Oakland, CA (January 2015 – April 2021)
    Pre-trial and trial writer, and legal research consultant.

Rose Klein & Marias LLP Attorney, Los Angeles, CA (September 2014 – June 2016)
    Trial and appellate writer for several plaintiffs’ complex product liability cases. Successfully appealed a defense
        verdict rendered after a 5 week jury trial over the course of one year, ultimately modifying the sophisticated user
        defense in favor of all California plaintiffs.

Paul & Hanley LLP, Attorney, Berkeley, CA (December 2008 – April 2011)
    One of three pre-trial, trial, and post-trial legal research and writers supporting a 20-attorney plaintiffs’ complex
       tort litigation firm.

Kazan, McClain, et al. PLC, Attorney, Oakland, CA (December 2001 – January 2006)
    Pre-trial writer and trial writer for plaintiffs’ asbestos firm.,

Weitz & Luxenberg; Law Offices of Trey Jones; The Farrise Firm; Berglund & Johnson (2014 – 2018)
    Appellate contributions and other post-trial writing projects (asbestos and various personal injury/WD)

                                              TEACHING EXPERIENCE

Adjunct Law Professor, University of San Francisco School of Law, San Francisco, CA
     Lead Professor, Legal Research and Writing (September 2017 – June 2018): two sections, IL students; taught
        the process and art of objective and persuasive legal writing, basic electronic legal research skills, and use of
        proper legal citations to cases, statues, and secondary sources. Oral advocacy practice for moot court unit.
     Guest Lecturer, Appellate Advocacy (January 2018 – Ongoing): 4 appellate advocacy lectures per school year

                                                        EDUCATION
University of San Francisco School of Law, San Francisco, CA
Juris Doctor, cum laude, May 2001
        Rank: Top 10 percent, American Jurisprudence Award, Federal Taxation

University of California, Santa Barbara, Santa Barbara, CA
Bachelor of Arts, Sociology, Black Studies, History (Double Major, One Minor), June 1997
       Honors: Dean’s List; Lorraine Hansberry Award for Outstanding Scholarship
